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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

JANICE BROWN,                           )
                                        )
      Plaintiff,                        )
                                        )       Civil Action File
v.                                      )
                                        )       No. 3:19-cv-00016-TCB
GOLDEN PARTNERS, LLC and                )
MURIEL CROSBY POWELL,                   )
                                        )
      Defendant.                        )

          NON-PARTY ANTARES GROUP, INC.’S OBJECTIONS
             TO SUBPOENA TO PRODUCE DOCUMENTS

      Pursuant to Rule 45(d)(2)(B) of the Federal Rules of Civil Procedure, non-

party Antares Group, Inc. (“Antares”) objects to the “Subpoena to Produce

Documents, Information, or Objects or to Permit Inspection of Premises in a Civil

Action” (“Subpoena”), served on August 14, 2019, as set forth below.

                           GENERAL OBJECTIONS

                                       1.

      Antares objects to producing documents that contain or constitute

communications with Golden Partners, LLC or any member, employee or agent

thereof, including Muriel Powell, that are protected against disclosure by the
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accountant-client privilege, as codified in O.C.G.A. § 43-3-29(b), which provides

in pertinent part:

             All communications between a certified public accountant or
      employee of such certified public accountant acting in the scope of
      such employment and the person for whom such certified public
      accountant or employee shall have made any audit or other
      investigation in a professional capacity and all information obtained
      by a certified public accountant or such an employee in his or her
      professional capacity concerning the business and affairs of clients
      shall be deemed privileged communications in all courts or in any
      other proceedings whatsoever; and no such certified public accountant
      or employee shall be permitted to testify with respect to any of such
      matters, except with the written consent of such person or client or
      such person's or client's legal representative. . . .
(emphasis added) (omitted language specifying exceptions not applicable here).


                                         2.

      Antares objects to producing documents that contain or constitute private

and confidential information or records of third parties, including employees or

agents of Golden Partners, LLC who have no connection to the subject matter of

the pending lawsuit and whose private and confidential employment or personal

information is neither relevant to the subject matter of this action nor reasonably

calculated to lead to the discovery of admissible evidence. Even if a subset of this

information were minimally relevant, the privacy interests of such third parties in

the information would substantially outweigh any alleged basis for disclosing it.

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                                         3.

      Antares objects to producing documents that contain or constitute

confidential, private, proprietary or commercially sensitive information of Antares

or its client, Golden Partners, LLC, without a sufficient showing of the relevance

of such information and, if relevant, without the confidentiality of such information

being protected by an appropriate confidentiality agreement, preferably in the form

of a consent protective order.

                                         4.

      Antares is informed and believes that Defendants are challenging the

propriety or scope of the Subpoena. Antares’ counsel informed Plaintiff’s counsel

that Defendants anticipated filing a motion to quash the Subpoena and, in the event

they did so, asked Plaintiff’s counsel to extend the time within which Antares

would be required to respond to the Subpoena until after there had been a ruling on

any such motion to quash. Notwithstanding Rule 45(d)(1), which specifies that

“[a] party or attorney responsible for issuing and serving a subpoena must take

reasonable steps to avoid imposing undue burden or expense on a person subject to

the subpoena,” Plaintiff’s counsel refused to cooperate, thereby forcing Antares to

serve objections and subjecting it to undue burden and expense in violation of Rule

45.

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                                          5.

      Antares objects to the Subpoena on the grounds that Antares, as a non-party,

should not be obliged to undertake a burdensome search to provide information,

including electronically-stored data, if it is available from a party to the litigation

or another source that it is more convenient, less burdensome or less expensive.

Here, the Subpoena seeks communications with Defendants, who are parties to the

litigation and more knowledgeable about the matters in issue.

                                          6.

      Antares objects to producing documents at the offices of DeLong, Caldwell,

Bridgers, Fitzpatrick & Benjamin, LLC, 101 Marietta Street NW, Suite 2650,

Atlanta, Georgia 30303, because transporting responsive documents to another

location for inspection and copying would be unduly burdensome. Any documents

to be produced will be produced at the law offices of Brooks & Warner LLC, 1768

Century Boulevard NE, Suite B, Atlanta, Georgia 30345 at a mutually-agreeable

date and time.




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      The following response is made subject to these General Objections, which

are incorporated by reference therein.

                              SPECIFIC RESPONSE

Request

      The Subpoena commands Antares to produce

      the following documents, electronically stored information, or objects,
      and to permit inspection, copying, testing, or sampling of the material:

      All written and electronic communications between (1) Antares
      Group, Inc., and (2) Muriel Powell, Golden Partners, LLC, or any
      employee or agent of Golden Partners, LLC, from Dec. 1, 2016
      through January 31, 2017. This request includes, but is not limited to,
      emails sent to and received by Lisa Austin.

Response

      Antares’ communications with Golden Partners, LLC and its employees and

agents, including Muriel Powell, concern the business and affairs of Golden

Partners, LLC and thus are protected against disclosure by the accountant-client

privilege. Certain of these communications may involve private and confidential

information of third parties, including employees and agents of Golden Partners,

LLC, who have no connection to the subject matter of the pending lawsuit. Taken

literally, the Subpoena nevertheless would require Antares to retrieve and review

all written and electronic communications with its client over a two-month period,

including communications that do not involve the subject matter of the pending
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claims, as Antares understands them, and the significant burden and expense of

doing so outweighs any possible benefit the discovery may provide. Accordingly,

in addition to its detailed, specific General Objections, which are incorporated

herein by reference, Antares objects to this request on the grounds that (1) it seeks

the production of documents that are protected against disclosure by the

accountant-client privilege, (2) it seeks the production of documents containing

private and confidential information of third parties, including employees or agents

of Golden Partners, LLC, (3) it seeks the production of documents that contain or

constitute confidential, private, proprietary or commercially sensitive information

of Antares or Golden Partners, LLC without a sufficient showing of the relevance

of such information and, if relevant, without the confidentiality of such information

being protected by an appropriate confidentiality agreement, preferably in the form

of a consent protective order, (4) it is overly broad and unduly burdensome and

seeks the production of private and confidential documents that are neither relevant

to the subject matter of this action nor reasonably calculated to lead to the

discovery of admissible evidence and (5) any production by Antares in response to

the Subpoena prior to a ruling on Defendants’ anticipated objections would be

premature and improper.



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                                         Respectfully submitted,

                                         /s/Jill Warner
BROOKS & WARNER LLC                      Michael E. Brooks
1768 Century Boulevard NE, Suite B       Georgia Bar No. 084710
Atlanta, Georgia 30345                   mbrooks@brooksandwarner.com
(404) 681-0720 – Brooks Direct           Jill Warner
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                                         Attorneys for Non-Party
                                          Antares Group, Inc.




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                          CERTIFICATE OF SERVICE

      I hereby certify that on August 20, 2019, I electronically filed the foregoing

proposed NON-PARTY ANTARES GROUP, INC.’S OBJECTIONS TO

SUBPOENA TO PRODUCE DOCUMENTS with the Clerk of the Court using the

CM/ECF system which will send notification of such filing to:

            Charles Ronald Bridgers, Esq.
            Matthew Wilson Herrington, Esq.
            DeLong Caldwell Bridgers Fitzpatrick & Benjamin, LLC
            101 Marietta Street, Suite 2650
            Atlanta, Georgia 30303

            H. Eric Hilton, Esq.
            Allison C. Averbuch, Esq.
            Hall Booth Smith, P.C.
            191 Peachtree Street, N.E., Suite 2900
            Atlanta, Georgia 30303

                                     /s/Jill Warner
                                     Jill Warner

                                     Attorney for Non-Party
                                      Antares Group, Inc.
